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                                         LINITED STATES DISTRICT COURT
                                          DISTzuCT OF MASSACHUSETTS
                                                CENTRAL DIVISION


ARY L. ASSUNCAO, Individually                              )
and as Personal Representative of the                      )
ESTATE OF MARLENE MIRANDA,                                 )
                                  Plaintiff,               )
                                                           )
v                                                          )    CIVIL ACTION NO. 4:15-CV-40106-DHH
                                                           )
LEONARD MORSE HOSPITAL, and                                )
JANET MAGNANI, M.D.,                                       )
                                  Defendants.              )


                                               STIPULATION OF DISMISSAL

                   Pursuant to Fed. R. Civ. P. a1(a)(1)(AXiD, the undersigned, being all of the parties to this

action, hereby stipulate that the plaintiffs complaint against the defendant, Leonard Morse

Hospital is hereby dismissed, with prejudice and without costs.

Respectfully submitted,

The Plaintiff,                                                  The Defendant,
Ary L. Assuncao, Individually and                as             Leonard Morse Hospital,
Personal Representative of the Estate                 of        By its attorneys,
Marlene Miranda,
By his attorney,

               ß/ Abigail Williams                                     /s/ Timothy B. Sweetland

Abigail Williams, BBO# 559245                                   Edward T. Hinchey, BBO# 235090
Abigail V/illiams & Associates, LLC                             Timothy B. Sweetland, BBO# 663237
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The defendant,
Janet Magnani, M.D.
By her attorneys,

           /s/ Kevin C, Reidy

Kevin C. Reidy, BBO# 56770
Darlene Dawson, BBO# 567210
Martin, Magnuson, McCarthy & Kenney              Dated: March 22,2017
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                                   CERTIFICATE OF SERVICE

           I, Timothy B. Sweetland, certify that on the date shown below, I made service of   the
foregoing documents by causing a copy thereof to be electronically mailed, to the following
counsel ofrecord:




Abigail Williams, Esquire
Abigail lVilliams & Associates, P.C.
446 }y'rain Street, 9th Floor
Worcester,    MA   01608

Kevin C. Reidy, Esquire
Martin, Magnuson, McCarthy & Kenney
101 Menimac Street
Boston, MA 02114




Dated: March 22,2017




                                                           /s/ Timothy B. Sweetland

                                                           Timothy B. Sweetland




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